Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 1 of 12
                                                            F I L E D
                                               UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
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                                                   JEFFREY P. ALLSTEADT, CLERK
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 2 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 3 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 4 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 5 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 6 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 7 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 8 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                          Document     Page 9 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                         Document      Page 10 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                         Document      Page 11 of 12
Case 23-15977   Doc 19   Filed 12/18/23 Entered 12/18/23 13:51:11   Desc Main
                         Document      Page 12 of 12
